Case 2:20-cv-13134-LVP-RSW ECF No. 104, PageID.4332 Filed 01/28/21 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE
 RUBINGH,                                         No. 2:20-cv-13134


              Plaintiffs,                         Hon. Linda V. Parker
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, et al,

             Defendants,

  and

 CITY OF DETROIT, et al,

             Intervenor-Defendants.

    STIPULATED ORDER EXTENDING TIME FOR INTERVENOR-
   DEFENDANT CITY OF DETROIT’S REPLY BRIEF IN SUPPORT OF
      MOTION TO DISMISS AND FOR AWARD OF SANCTIONS

        IT IS HEREBY STIPULATED AND AGREED by and between the

undersigned counsel for the parties that the time for the City of Detroit to file its

Reply Brief in Support of the Motion to Dismiss and for Award of Sanctions in this
Case 2:20-cv-13134-LVP-RSW ECF No. 104, PageID.4333 Filed 01/28/21 Page 2 of 2




matter is extended until Thursday, February 4, 2021.

      IT IS SO ORDERED

                                             s/ Linda V. Parker
                                             LINDA V. PARKER
                                             U.S. DISTRICT JUDGE


 Dated: January 28, 2021


STIPULATED TO AND APPROVED BY:

Date: January 28, 2021

/s/ Stefanie Lambert Junttila
STEFANIE LAMBERT JUNTTILA (P71303)
Attorney for Plaintiffs
500 Griswold Street, Ste. 2340
Detroit, MI 48226
(313) 963-4740
attorneystefanielambert@gmail.com

/s/ David H. Fink
David H. Fink (P28235)
FINK BRESSACK
38500 Woodward Avenue, Suite 350
Bloomfield Hills, MI 48304
(248) 971-2500
dfink@finkbressack.com
